      Case 4:22-cr-00316 Document 1 Filed on 06/30/22 in TXSD Page 1 of 4




                            UNITED STATES DISTRICT COURT                        United States Courts
                             SOUTHERN DISTRICT OF TEXAS                       Southern District of Texas
                                 HOUSTON DIVISION                                      FILED
                                                                                   June 30, 2022
UNITED STATES OF AMERICA                    §
                                                                           Nathan Ochsner, Clerk of Court
                                            §
              v.                            §      CASE NO.
                                            §
DOMINIQUE ANDREWS,                          §      JUDGE
Defendant                                   §                      4:22-CR-316


                                       INDICTMENT

THE GRAND JURY CHARGES THAT:



                                      INTRODUCTION

       At all times material to this Indictment, AutoZone, is a company headquartered in

Memphis, Tennessee, United States which operates as an aftermarket automotive parts and

accessories retailer throughout the United States, Mexico, Brazil, and Puerto Rico. The purchase

and sales of AutoZone products involves United States currency and consumer goods which are

shipped in interstate commerce and which affect interstate commerce.



                                        COUNT ONE

                           Title 18, United States Code, § 1951(a) –
                           Interference with Commerce by Robbery

       On or about February 4, 2022, in the Houston Division of the Southern District of Texas,


                                  DOMINIQUE ANDREWS



                                          Page 1 of 4
       Case 4:22-cr-00316 Document 1 Filed on 06/30/22 in TXSD Page 2 of 4




herein defendant, did knowingly and intentionally obstruct, delay, and affect interstate commerce

and the movement of articles and commodities in commerce by means of robbery, as the terms

“commerce” and “robbery” are defined in Title 18, United States Code, §§ 1951(b)(1) and (b)(3),

in that the defendant did unlawfully take and obtain the property of AutoZone, located at 14447

Cullen Boulevard, Houston, Texas, which was in the possession and custody of an employee of

AutoZone, namely, United States currency and two car scanners, by means of actual and threatened

force, violence, and fear of injury to those in lawful possession of those items.

       In violation of Title 18, United States Code, § 1951(a).



                                          COUNT TWO

                         Title 18, United States Code, § 924(c)(1)(A) –
              Discharge of a Firearm during and in Relation to a Crime of Violence

       On or about February 4, 2022, in the Houston Division of the Southern District of Texas,

                                    DOMINIQUE ANDREWS


herein defendant, did knowingly use, carry, brandish and discharge a firearm, namely, a handgun,

during and in relationship to a crime of violence for which they may be prosecuted in a court of

the United States, that being Interference with Commerce by Robbery, as alleged in Count One.

       In violation of Title 18, United States Code, § 924(c)(1)(A)(iii).




                                        COUNT THREE

                                            Page 2 of 4
       Case 4:22-cr-00316 Document 1 Filed on 06/30/22 in TXSD Page 3 of 4




                            Title 18, United States Code, §§ 1951(a) –
                            Interference with Commerce by Robbery

       On or about February 4, 2022, in the Houston Division of the Southern District of Texas,


                                    DOMINIQUE ANDREWS


herein defendant, did knowingly and intentionally obstruct, delay, and affect interstate commerce

and the movement of articles and commodities in commerce by means of robbery, as the terms

“commerce” and “robbery” are defined in Title 18, United States Code, §§ 1951(b)(1) and (b)(3),

in that the defendant did unlawfully take and obtain the property of AutoZone, located at 5501

Telephone Road, Houston, Texas, which was in the possession and custody of an employee of

AutoZone, namely, United States currency, by means of actual and threatened force, violence, and

fear of injury to those in lawful possession of those items.

       In violation of Title 18, United States Code, § 1951(a).



                                         COUNT FOUR

                         Title 18, United States Code, § 924(c)(1)(A) –
              Discharge of a Firearm during and in Relation to a Crime of Violence

       On or about February 4, 2022, in the Houston Division of the Southern District of Texas,

                                    DOMINIQUE ANDREWS


herein defendant, did knowingly use, carry, brandish and discharge a firearm, namely, a handgun,

during and in relationship to a crime of violence for which they may be prosecuted in a court of

the United States, that being Interference with Commerce by Robbery, as alleged in Count Three.


                                            Page 3 of 4
       Case 4:22-cr-00316 Document 1 Filed on 06/30/22 in TXSD Page 4 of 4




       In violation of Title 18, United States Code, § 924(c)(1)(A)(iii).

                           NOTICE OF CRIMINAL FORFEITURE

       Pursuant to Title 18, United States Code, Section 924(d)(1), and Title 28, United States

Code, Section 2461(c), the United States of America hereby gives notice that the firearm(s),

involved in violation of Title 18, United States Code, Section 924(c) as charged in Count Two, are

subject to forfeiture, including, but not limited to, the following:

       A 9mm Luger Taurus Model PTIII Mellinium G2, Serial Number: TIR31747 and all

       attendant magazines, clips and ammunition.



A TRUE BILL:

                                                        Original Signature on File

                                               FOREMAN OF THE GRAND JURY


                                               JENNIFER LOWERY
                                               United States Attorney

                                               By:




                                             Page 4 of 4
